Exhibit
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8/12/24, 5:13 PM        【TRO 23-cv-21753】1057 stores sued! Another case involving trademarks and 40 copyrighted images by an individual painter rep…




   front page       Cross-border headlines             text


   【TRO 23-cv-21753】1057 stores sued! Another
   case involving trademarks and 40 copyrighted
   images filed by individual painters represented
   by Sriplaw
             For the network            focus on                                                                                         693
                                                                                                                          2023-07-04 03:21
             We specialize in providing intellectual property assistance, litigation disputes, platform
             appeal disputes and rights protection for Chinese cross-border sellers, as well as all…




             This morning, Xiaowei received an email from a seller in the backend.
      The case number involved was 23-cv-21753. After checking, it turned out
      t h a t St a r l a M i c h e l l e , a p e r s o n a l p a i n t e r r e p r e s e n t e d b y S r i p l a w i n 2 0 2 2 ,
      once again initiated trademark and copyright protection! As many as
      1,057 stores were sued! Below are the details of the case.




                                                                01Case Details
                                                                                 Link+2024 Brand
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        P l a i n t i f f b r a n d : Starla Michelle work                                 Book an
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        P l a i n t i f f : St a r l a M i c h e l l e , L LC                     10-20
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        Case Number : 23-cv-21753
        Ty p e o f p r o s e c u t i o n : Tr a d e m a r k , C o p y r i g hSeeking
                                                                              t      growth
        P l a i n t i f f ’s L a w F i r m : S r i p l a w L a w                 overseas, how to…

        Prosecution date: 2023/5/10                                                        Book an
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        Brand official website:                                                            Now


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        https://starlamichelle.com/




                                                   02Brand Introduction

        Starla Halfmann is a professional Austin artist and Texas native. She received her
   Bachelor of Arts in Design Communications from Texas Tech University. For her, her art
   career began after she quit her desk job of 8 years, which, like the character in the movie
   Office Space , was not what she was interested in, so she decided to follow her heart.




                                     (Image source: https://starlamichelle.com/ cited date: July 4, 2023)




        Starla Halfmann is a Christian artist who hopes to always maintain curiosity in her
   creations. She once lived on a remote farm, and the only thing she had access to was an
   encyclopedia. She has loved painting since she was a child, and she also loves many
   elements of nature. Everyone unanimously believes that she will become a veterinarian. This
   is also one of the reasons why she paints animals the most after becoming an artist. At
                                                                                Link+2024 Brand
   present, these works of hers have received a lot of praise and have been exhibited in many
                                                        Ark Overseas…
   exhibitions such as the Starla Michelle Art Exhibition, the People's
                                                                Book an Gallery, and the 5th
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        The plaintiff's registered word mark STARLA MICHELLE is in 16 categories.
https://www.amz123.com/t/KBJS1Fxr                                                                                                             2/13
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                                                04Copyright Information

        There are 40 copyrighted paintings of the plaintiff involved in this case . Sellers are
   requested to check carefully to avoid infringement.




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                                                    05Product Examples




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                                      (Image source: https://starlamichelle.com/ cited date: July 4, 2023)




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